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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )   CRIMINAL ACTION 1:11-00034-KD-B
                                               )
MANN MAJED HADDAD and                          )
AMJAD YACOUB SAHAVNEH,                         )
                                               )
       Defendants.                             )


                                           ORDER

       This matter is before the Court on Defendant Amjad Yacoub Sahavneh’s “Motion for

New Trial” (Doc. 60). Upon consideration, Defendant Sahavneh’s motion for a new trial is

DENIED.

I.     Background

       The jury trial of this matter was held from May 16-18, 2011, before the undersigned

United States District Judge. On May 18, 2011, having heard the evidence, the arguments of

counsel and the instructions of the Court, and having considered the same upon their oaths, the

jury returned two (2) separate Verdicts (one for each of the Defendants). Specifically as to

Defendant Sahavneh, the jury returned the following verdict:

       -not guilty as to Count 1 (for Conspiracy in violation of Title 18, United States
       Code, Section 371);

       -guilty as to Count 3 (for Encouraging Illegal Entry by an Alien in violation of
       Title 8, United States Code, Section 1324(a)(1)(A)(iv));

(Doc. 58).




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         On June 1, 2011, Defendant Sahavneh filed a timely1 motion for new trial, pursuant to

Rule 33 of the Federal Rules of Criminal Procedure. (Doc. 60). Defendant Sahavneh asserts that

he is entitled to a new trial because the Court erred in:

         1.     “denying the Defendant’s Motion in Limine requesting an Order in Limine

                prohibiting the Government from introducing the Defendant’s immigration

                paperwork from 1992 through 1997[,]”

         2.     “denying the Defendant’s Motion in Limine II, requesting an Order in Limine

                prohibiting the Government from introducing the testimony of Sabrina

                Williams[,]” and

         3.     “refusing to allow the introduction into evidence of the entire tape recorded

                conversation between the Defendant and Valbory Haddad occurring on November

                8, 2010.”

(Id.).

         As to the third alleged error, Defendant Sahavneh contends that “[t]he unedited tape

would have provided the proper context to the conversation[]” and “was also relevant to the

Government’s argument that the Defendant knew that the conversation was being recorded.”

(Id. at ¶ 3).

II.      Motion for New Trial

         Rule 33 of the Federal Rules of Criminal Procedure empowers a district court to vacate a

judgment and grant a new trial if the interest of justice requires. FED. R. CRIM. P. 33(a). There

are two grounds upon which a court may grant a motion for new trial: one based on newly
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           Pursuant to Rule 33(b)(2), “[a]ny motion for a new trial grounded on any reason other
         than newly discovered evidence must be filed within 14 days after the verdict or finding
         of guilty.”


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discovered evidence; and “the other based on any other reason, typically the interest of justice[.]”

United States v. Campa, 459 F.3d 1121, 1151 (11th Cir. 2006). The decision whether to grant or

deny such a motion rests in the sound discretion of the trial court. United States v. Champion,

813 F.2d 1154, 1170 (11th Cir. 1987).

       After a review of the motion, the Court finds that the arguments provide no meritorious

basis for the Court to grant a new trial. Accordingly, for the reasons stated on the record during

trial, Defendant Sahavneh’s motion for new trial (Doc. 60) is DENIED.

       DONE and ORDERED this the 14th day of June, 2011.

                                              /s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              UNITED STATES DISTRICT JUDGE




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